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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


BACARDI & COMPANY LIMITED, and

BACARDI U.S.A., INC.,

              Plaintiffs and Counterdefendants,

        v.                                               Case No. 1:04-cv-00519 (EGS)

EMPRESA CUBANA EXPORTADORA
DE ALIMENTOS Y PRODUCTOS VARIOS
d/b/a CUBAEXPORT,

              Defendant and Counterclaimant.



                    CUBAEXPORT’S COUNTERCLAIM AND
                  ANSWER TO FIRST AMENDED COMPLAINT

       Defendant Empresa Cubana Exportadora de Alimentos y Productos Varios d/b/a

Cubaexport (“Cubaexport”), by and through its undersigned counsel, hereby submits its

Counterclaim together with its Answer to the First Amended Complaint of Plaintiffs

Bacardi & Company Limited and Bacardi U.S.A., Inc. (collectively “Bacardi”) filed

March 11, 2016.


                                     I.
                           PRELIMINARY STATEMENT

       1.     This action, filed by Bacardi in 2004, is continuation of a petition that

Bacardi filed at the Trademark Trial and Appeal Board (“TTAB”) in 1995, seeking

cancellation of Cubaexport’s registration of a trademark (Reg. No. 1,031,651) consisting

of a design including the words HAVANA CLUB. Bacardi lost at the TTAB in 2004
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because Cubaexport had lawfully obtained trademark rights in HAVANA CLUB in the

1970s, and Bacardi was unable to establish that the registration was procured by fraud or

to prove other grounds sufficient to cancel a mark, like Cubaexport’s HAVANA CLUB

registration, that has been on the trademark register for over five years and is therefore

protected from cancellation on most grounds by Section 14 of the Lanham Act (15 U.S.C.

§ 1064).

       2.      The relevant facts regarding registration of the mark have not changed in

the years since Bacardi lost its case at the TTAB. A Cuban company named José

Arechabala S.A. (“JASA”) had held registrations for several trademarks containing the

words HAVANA CLUB between the 1930s and 1950s. JASA’s former owners, who left

Cuba in the 1960s, chose to let all of JASA’s remaining U.S. trademark registrations

expire, along with JASA’s trademark registrations in other countries. After the last of the

U.S. registrations had expired, Cubaexport applied for and in 1976 was granted a new

and different trademark registration consisting of a newly created design including the

words HAVANA CLUB, which was not based on any of JASA’s earlier registrations.

Cubaexport applied for the registration in the good-faith and accurate belief that any prior

claim to any trademark containing the HAVANA CLUB name had been abandoned, so

that the mark was then free for anyone to register and use. Despite years of litigation

around ownership of the mark in this case and in related litigations, no facts have come to

light to suggest otherwise, because none exist.

       3.      For nearly two decades after Cubaexport registered its trademark, neither

Bacardi nor JASA’s former owners showed any interest in the HAVANA CLUB




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trademark. But in late 1993, the global spirits distributor Pernod Ricard S.A. entered into

a joint venture agreement with Havana Rum & Liquors, S.A., to distribute HAVANA

CLUB rum around the world. Bacardi for the first time saw a competitive threat and

began desperately looking for ways to stifle this potential new competition to its own

existing rum brands around the world.

       4.      In the United States, Bacardi submitted its own application for a

HAVANA CLUB trademark registration in 1994 based not on a claim of existing rights

but on an intent to use the trademark in the future. Then in 1995, Bacardi filed the

proceeding at the TTAB, noted above, seeking to cancel Cubaexport’s registration. Also

in 1995, Bacardi began releasing limited quantities of Bahamian rum in the United States

under the HAVANA CLUB name, but Bacardi discontinued those sales after Havana

Club Holding, S.A. (“HCH”), as Cubaexport’s assignee, sued Bacardi for trademark

infringement. Later, in April 1997, Bacardi purported to enter into an agreement with

some of JASA’s former owners to acquire JASA’s former trademark rights, even though

those rights had long ago been abandoned and no longer existed.

       5.      Recognizing the weakness of its legal case against the HAVANA CLUB

trademark registration, Bacardi also turned to backroom political lobbying. To derail

HCH’s trademark infringement suit, Bacardi lobbied for the retroactive revocation of the

Treasury Department license that had allowed Cubaexport to transfer its rights to HCH.

Bacardi even lobbied its allies in Congress in 1998 to slip into a lengthy appropriations

bill, without notice to other members of Congress, a targeted section (“Section 211”)

specifically designed to prevent HCH and Cubaexport from enforcing rights arising from




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the HAVANA CLUB registration against infringers like Bacardi—though not actually

cancelling the registration or confiscating the mark.

       6.      In 2006, Bacardi relaunched its rum misleadingly branded with the

HAVANA CLUB name, this time using rum from Puerto Rico, in violation of

Cubaexport’s rights as owner of the registered trademark.

       7.      By trying to lay claim to the HAVANA CLUB brand in this way, Bacardi

not only sought to interfere with the activity of its primary competitor in the global rum

market but also to misappropriate for itself the benefit of the investments of others, which

had built for the HAVANA CLUB trademark a global renown that the trademark had not

previously enjoyed.

       8.      Neither Bacardi’s efforts to steal the HAVANA CLUB trademark nor its

attempts to trade off of the goodwill of the HAVANA CLUB mark have any legal or

factual justification. Bacardi can no longer rely on inferences and benefits of the doubt as

at the pleading stage. It must prove its claims with evidence. Bacardi has received

extensive discovery into the ownership history of the HAVANA CLUB trademark from

prior litigations, and it still has no evidence to support its supposed superior rights in the

trademark or any valid claim for cancellation of the trademark. In short, Bacardi has no

valid claim to the HAVANA CLUB trademark registration in the United States or

elsewhere nor any basis to cancel Cubaexport’s registration. For these reasons, Bacardi’s

claims must be rejected.

       9.      Bacardi also should be enjoined from infringing Cubaexport’s HAVANA

CLUB trademark in the United States. Although Bacardi has continuously been




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infringing Cubaexport’s rights by selling Puerto Rican rum under the HAVANA CLUB

trademark since 2006, Cubaexport was prevented from seeking affirmative judicial

enforcement of those rights in a U.S. court by Section 211, the 1998 law that Bacardi had

lobbied for. For the reasons discussed below, the relevant clause of Section 211 no

longer applies, and Cubaexport is now able to affirmatively enforce its trademark rights

arising from the registration. Accordingly, Cubaexport is entitled to an injunction against

Bacardi’s infringing sales of rum under the HAVANA CLUB name.

       10.     Cubaexport looks forward to fully and finally vindicating its rights to the

HAVANA CLUB trademark that it lawfully registered nearly fifty years ago and hopes

that one day, after the U.S. lifts its embargo against Cuba, genuine HAVANA CLUB rum

from Cuba will be available to consumers in the United States.


                                    II.
                        CUBAEXPORT’S COUNTERCLAIM

       As and for its counterclaim against Plaintiffs Bacardi & Company Limited and

Bacardi U.S.A., Inc., Defendant Cubaexport asserts as follows:


                           NATURE OF COUNTERCLAIM

       11.     This is a counterclaim against Bacardi under Section 32 of the Lanham

Act (15 U.S.C. § 1114) for injunctive relief for infringement of Cubaexport’s registered

HAVANA CLUB & Design trademark (Reg. No. 1,031,651).




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                                    JURISDICTION

       12.     If and to the extent an independent basis of jurisdiction for this

counterclaim may be required, the Court has jurisdiction over this counterclaim under

Section 39 of the Lanham Act (15 U.S.C. § 1121) and 28 U.S.C. §§ 1331 and 1338(a).


                    FACTS IN SUPPORT OF COUNTERCLAIM

A.     The pre-1959 HAVANA CLUB trademarks are abandoned by 1973

       13.     From 1934 to 1936, and again in 1953 and 1956, a Cuban company named

José Arechabala S.A. (defined above as “JASA”) registered a number of rum trademarks

containing the phrase HAVANA CLUB with the U.S. Patent and Trademark Office

(“USPTO”).

       14.     The rum that JASA sold under the HAVANA CLUB name was always a

relatively minor product for JASA. The manufacture and distribution of alcoholic

beverages was not JASA’s only activity or even its main activity prior to the 1959 Cuban

Revolution. Moreover, HAVANA CLUB was not the only rum produced by JASA, and

JASA’s other products were better known and more prominent in the Cuban market.

JASA’s export volumes of HAVANA CLUB rum also were very low, and the brand was

not well known in the United States or in other countries. Based on these facts and

others, it is apparent that, even before 1959, JASA had no intent to develop the

HAVANA CLUB brand into a well-known brand in the United States or elsewhere.

       15.     As of 1959, JASA continued to hold three unexpired HAVANA CLUB

trademark registrations at the USPTO: No. 578,679 and No. 578,680, both of which




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were registered on August 11, 1953, and No. 632,828, which was registered on August

14, 1956. JASA’s other registrations had expired in or before the mid-1950s.

       16.     JASA’s property in Cuba, like that of most private businesses in Cuba,

was nationalized following the Cuban Revolution of 1959. The formal expropriation of

JASA’s property took effect on October 13, 1960, under Cuba’s Law No. 890.

       17.     Under binding U.S. Supreme Court precedent, the Act of State Doctrine

requires the Court to recognize as valid the expropriation of JASA’s property in Cuba.

But under U.S. law, the expropriation did not affect ownership of JASA’s property then

located in the United States. This includes the three U.S. trademark registrations then

owned by JASA.

       18.     JASA’s U.S. trademarks were never expropriated but ultimately expired or

were cancelled by the USPTO under the terms of the Lanham Act, 15 U.S.C. § 1051 et

seq., because JASA’s former owners did not take the steps necessary to renew or

otherwise maintain them.

       19.     Specifically, on August 14, 1962, the USPTO cancelled JASA’s

Registration No. 632,828 for failure to file a declaration of use or excusable non-use.

JASA’s former owners could have prevented the cancellation of this registration by filing

a declaration of excusable non-use citing the expropriation of their rum-producing assets

in Cuba and paying a $25 filing fee if they had intended to resume use of the trademark.

They did not do so.

       20.     Then, on August 11, 1973, JASA’s last two remaining “Havana Club”

trademark registrations in the United States, Nos. 578,679 and 578,680, expired. At the




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time, U.S. trademark registrations had a 20-year duration, and those two trademarks had

been registered in 1953 and never renewed. JASA’s former owners could have prevented

the expirations of these registrations by filing an application for renewal with a

declaration of excusable non-use and paying a $25 filing fee if they had intended to

resume use of the trademarks. They did not do so.

       21.     JASA’s former owners were aware of the impending expiration of their

trademark registrations but did not renew or maintain the U.S. trademarks because they

had intentionally chosen to abandon them. Certain of JASA’s former owners have

admitted, in sworn testimony, that they had discussed and considered renewing their

remaining U.S. trademark registrations in 1973 and intentionally chose not to do so

because they had no plans to reenter the rum business and therefore no intent to use the

trademarks again.

       22.     In other countries as well, JASA’s former owners chose not to maintain

their trademark rights, although they had an opportunity to do so by renewing their

trademark registrations, rehabilitating them after they expired, or filing for new

trademark registrations.

       23.     For over 20 years after their deliberate decision not to renew their last

remaining U.S. trademark registrations, JASA’s former owners took no steps to reenter

the rum business or to assert rights in any HAVANA CLUB trademark. During this time,

many of them pursued other business ventures in Spain, the United States and elsewhere

that were unrelated to the rum business. This contrasts with the behavior of the former




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owners of some other Cuban rum producers, including Bacardi, who reentered the rum

business, using their old trademarks, from outside of Cuba.

       24.     These facts and others demonstrate that JASA’s former owners

abandoned, no later than 1973, all rights in any “Havana Club” trademarks.

B.     Cubaexport lawfully obtains trademark rights in HAVANA CLUB in the
       United States in 1976

       25.     Cubaexport is a Cuban state-owned foreign trade corporation that was

established in 1965 by the Cuban Ministry of Foreign Commerce for the purpose of

exporting food and other products.

       26.     In 1972, Cubaexport began exporting rum under the HAVANA CLUB

brand, mainly to the Soviet Union and Eastern Europe.

       27.     At that time, and today, Cubaexport could not export rum to the United

States because of the ongoing U.S. embargo against Cuba. However, Cubaexport wished

to secure U.S. rights in the Havana Club name so that, when the embargo is lifted, it

could sell rum in the United States under the same name as it was using elsewhere.

Accordingly, in 1974, Cubaexport submitted an application to the USPTO to register the

HAVANA CLUB trademark that is in issue in this lawsuit.

       28.     When it submitted its application, Cubaexport believed in good faith—and

correctly—that no other persons or entities had rights to the HAVANA CLUB trademark.

At the time of the 1974 application, JASA’s former owners had shown no interest in

pursuing the rum business in the U.S. or elsewhere and had allowed each of JASA’s

trademark registrations in the U.S. and elsewhere to expire one by one. Under the




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circumstances, a reasonable observer would conclude that JASA had no intent to resume

use of the HAVANA CLUB trademark.

        29.     Cubaexport’s application sought registration of a different HAVANA

CLUB mark than the ones JASA had used for Cuban rum, featuring a new design that

was unlike any that JASA had ever used. Cubaexport’s application was based on a newly

obtained Cuban registration that it had filed with the Cuban trademark office that same

year. The application was not based on any of JASA’s former registrations, nor was it

based on any trademark rights or other property that had been expropriated from JASA.

        30.     On October 31, 1975, the USPTO gave notice pursuant to Section 12(a) of

the Lanham Act (15 U.S.C. § 1062(a)) that Cubaexport’s mark appeared to be registrable

and would be published in the Official Gazette of the Patent and Trademark Office (the

“Gazette”). The mark was published for opposition in the Gazette on November 4, 1975.

The publication of the mark in the Gazette began the 30-day period under Section 13 of

the Lanham Act (15 U.S.C. § 1063) for anyone to file with the TTAB an opposition to the

registration or to request an extension of time to oppose.

        31.     The 30-day period passed without JASA, any of its former owners, or

anyone else opposing the registration or seeking an extension of time to oppose the

registration.

        32.     On January 27, 1976, the USPTO issued Registration No. 1,031,651 to

Cubaexport.

        33.     Neither Bacardi nor the former owners of JASA took any steps to

question, seek cancellation of, or otherwise challenge Cubaexport’s ownership of the




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U.S. registration—or Cubaexport’s then-existing HAVANA CLUB trademark

registrations in multiple other countries—for over 17 years after the U.S. registration was

issued, although they were well aware that a Cuban entity was exporting rum to other

countries under the HAVANA CLUB trademark.

C.     Beginning in 1993, a new joint venture between Pernod Ricard and Cuba
       Ron builds the previously little-known HAVANA CLUB brand into a world-
       leading rum brand

       34.     On November 22, 1993, Pernod Ricard S.A. (“Pernod Ricard”), one of the

world’s leading spirits distillers and distributors, entered into an agreement (“Convenio”)

with the Cuban state-owned enterprises Corporación Cuba Ron (“Cuba Ron”) and

Havana Rum & Liquors S.A. (“HRL”). The Convenio formed two joint ventures:

Havana Club International S.A. (“HCI”) to produce and distribute the rum, and Havana

Club Holding S.A. (“HCH”) to hold the relevant intellectual property.

       35.     Prior to the execution of the Convenio, Cubaexport had assigned its

worldwide HAVANA CLUB trademark rights to HRL. After the execution of the

Convenio, HRL assigned the rights to the new joint venture HCH. Insofar as the

assignments of U.S. rights under U.S. law was concerned, the transfers were authorized

and validated by a license issued by the Treasury Department’s Office of Foreign Assets

Control (“OFAC”) on November 13, 1995. As described further below, however, OFAC

later revoked the license as a result of Bacardi’s lobbying efforts.

       36.     Before the formation of the HCH and HCI joint ventures in 1993,

Cubaexport had been developing and promoting the HAVANA CLUB brand in a number

of countries outside of Cuba, though its primary market had been the Soviet Union and




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Eastern Europe. The joint venture arrangements allowed the rum to be distributed to a

much wider global market using Pernod Ricard’s distribution channels. At the time of

the formation of the joint ventures, Cubaexport’s rights in the HAVANA CLUB mark

around the world were understood to be secure, because JASA’s prior registrations for

HAVANA CLUB marks had been abandoned and Cubaexport’s trademark registrations

in multiple countries around the world—including the United States—had gone

unchallenged for decades. Moreover, the rum that JASA had distributed under the name

HAVANA CLUB had never been a widely distributed or well-known brand. By 1993,

JASA had not been producing rum for decades.

       37.     Over the next few decades, the HCI joint venture, through its efforts and

expenditures, built HAVANA CLUB into the powerhouse global brand that it is today.

According to The IWSR, a leading analyst of the global alcoholic beverage market,

HAVANA CLUB is the world’s fifth-leading rum brand by volume of sales and the

world’s third-leading rum brand in the “standard and above” quality category.

       38.     Currently, the HCH joint venture owns the HAVANA CLUB trademark in

over 120 countries around the world. Bacardi has consistently been unsuccessful in its

attempts to appropriate the trademark for itself. It is only in the United States that

litigation over ownership of the HAVANA CLUB trademark has continued.

       39.     Cuban rum cannot currently be sold in the United States because of the

U.S. embargo of Cuba, but Cubaexport hopes that, with future changes in the law, U.S.

consumers will be able to buy genuine HAVANA CLUB rum from Cuba. The U.S.

market represents 40% of the global rum market, and it is important to be able to enter




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the market with the same brand that is used in the rest of the world and that has achieved

its current worldwide fame through 30 years of continuous investment in the brand.

D.     Bacardi suddenly takes an interest in the HAVANA CLUB mark only after
       Pernod Ricard and Cuba Ron form a rum production and distribution joint
       venture

       40.     Shortly after the HCH and HCI joint ventures were announced in late

1993, Bacardi began taking action to try to disrupt the launch of the joint ventures’

HAVANA CLUB rum. Bacardi’s rum brand BACARDI SUPERIOR has long been one

of the world’s best-selling rums, and the creation of a joint venture involving the major

spirits distributor Pernod Ricard meant that Bacardi would have a major new competitor

to contend with. Bacardi also may have hoped that, by pursuing aggressive tactics

against the new competitor, it could gain leverage for its own claims against Cuba and

perhaps gain an opportunity to distribute rum from Cuba itself.

E.     Bacardi files its false 1994 trademark registration application with the
       USPTO

       41.     On September 12, 1994, Bacardi & Company Limited’s then-subsidiary

Galleon S.A. filed its own “intent to use” application (Serial No. 74/572,667) to register a

HAVANA CLUB trademark with the USPTO. Galleon S.A. subsequently was merged

into Bacardi & Company Limited, which, as the surviving entity in the merger, succeeded

to all of Galleon S.A.’s assets and assumed all of its liabilities. Bacardi & Company

Limited was later substituted for Galleon S.A. as the applicant for registration at the

USPTO. Accordingly, all references to “Bacardi” or “Bacardi & Company Limited” in

this Counterclaim and Answer should be understood to include Galleon S.A.




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        42.      In its 1994 application for registration, as originally filed, Bacardi did not

claim to be the successor to any prior user of the mark. Rather, its application, as

originally filed, was based on a stated intent by Bacardi to use the mark in commerce for

the first time in the future.

        43.      Bacardi’s application for registration stated that “no other person has the

right to use said mark in commerce.” This statement was false, and Bacardi knew it was

false. Bacardi knew that the USPTO had validly issued a HAVANA CLUB trademark

registration to Cubaexport in 1973. Because Bacardi had been in discussions with—but

had reached no agreement with—some of the former owners of JASA at the time,

Bacardi either (a) knew that JASA had abandoned all U.S. trademark rights before 1973,

so any U.S. trademark rights now belonged to Cubaexport or to HCH as its assignee, or

(b) believed that JASA’s former owners still held such rights and fraudulently failed to

disclose them.

        44.      In 1995, Bacardi began selling Bahamian rum in the United States, in

limited quantities, using the HAVANA CLUB name to try to establish rights in the mark.

It did so without any assignment of rights from JASA or its former owners.

        45.      All of these circumstances demonstrate that Bacardi—like Cubaexport 20

years earlier—understood in 1994 that any rights of JASA or its former shareholders had

long since been abandoned. A former JASA shareholder named José Maria Arechabala

Rodrigo had filed his own application to register a HAVANA CLUB trademark (Serial

No. 74/522,925) on May 2, 1994, but Bacardi apparently did not regard that application

as an impediment to its own application for registration. Bacardi also does not claim to




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have reached an alleged “agreement in principle” with JASA’s former owners to use the

HAVANA CLUB trademark until 1995, the year after Bacardi submitted its registration

application, and that alleged agreement was not memorialized in writing in any event.

Bacardi only received a purported assignment of some of the former JASA owners’

alleged rights in 1997, two years after it began using the HAVANA CLUB name. Even

then, at least one of the former JASA owners, Gloria Márquez Arechabala, refused to join

that assignment. The 1997 assignment agreements also conspicuously lacked any

warranty that the purported assignors owned any rights in the HAVANA CLUB mark;

instead, the assignors quitclaimed to Bacardi whatever rights they might or might not

have, reflecting a recognition that their ownership of any trademark rights was doubtful at

best.

        46.         In the alternative, if Bacardi truly believed that JASA or its shareholders

still had rights in their old HAVANA CLUB trademarks, its application was knowingly

false and fraudulent for the additional reason that Bacardi failed to disclose those rights in

its application, which stated that “no other person has the right to use said mark in

commerce.”

F.      Bacardi asks the TTAB to cancel Cubaexport’s registration

        47.         The USPTO examiner who reviewed Bacardi’s September 12, 1994

application refused registration in an office action dated March 14, 1995, on four

grounds:

              (a)      Bacardi’s proposed trademark conflicted with the existing trademark

                       registration that had been issued to Cubaexport;




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             (b)      Bacardi’s proposed trademark also conflicted with the then-pending

                      HAVANA CLUB registration application filed by José Maria

                      Arechabala Rodrigo on May 2, 1994 (which was later abandoned in

                      1997);

             (c)      the use of the name HAVANA CLUB in reference to non-Cuban rum

                      constituted a deceptive geographical indication and was therefore

                      prohibited from registration by Section 2(a) of the Lanham Act (15

                      U.S.C. § 1052(a)); and

             (d)      the use of the name HAVANA CLUB for non-Cuban rum was

                      “primarily geographically deceptively misdescriptive” and therefore

                      prohibited from registration by Section 2(e)(3) of the Lanham Act (15

                      U.S.C. § 1052(e)(3)).

       48.         Bacardi responded by, among other things, filing a petition with the

Trademark Trial and Appeal Board (“TTAB”) on July 12, 1995, seeking to cancel

Cubaexport’s existing registration, which at that time had been assigned to HCH in

USPTO’s records. The TTAB granted summary judgment dismissing Bacardi’s

cancellation petition in 2004, and Bacardi then brought this civil action to challenge that

decision.

       49.         Further action on Bacardi’s trademark application has been stayed pending

litigation, including the final outcome of this action and of the underlying cancellation

petition at the TTAB.




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G.     Bacardi launches an aggressive campaign of infringing sales, litigation, and
       lobbying to try to disrupt Cubaexport’s and HCH’s ownership of the
       HAVANA CLUB trademark

       50.     In 1995, Bacardi began selling Bahamian rum under the HAVANA CLUB

trademark in the United States in limited quantities in an effort to challenge HCH’s

trademark ownership and to seek to establish its own rights in the mark. This led HCH

and HCI, that same year, to sue Bacardi in the United States District Court for the

Southern District of New York for trademark infringement and other claims arising from

Bacardi’s sale of Bahamian rum bearing the HAVANA CLUB name. That lawsuit was

captioned Havana Club Holding, S.A. v. Galleon S.A., 95 Civ. 9655 (SHS).

       51.     Because Bacardi was concerned that it would lose the trademark litigation

on the law and the facts, it went looking for political help. After HCH renewed the

HAVANA CLUB registration in 1996, Bacardi lobbied the U.S. Treasury Department’s

Office of Foreign Assets Control—which had issued a license authorizing the transfer of

the U.S. HAVANA CLUB registrations from Cubaexport to HCH—to revoke that license

with retroactive effect.

       52.     The District Court in the trademark legislation then held, in a decision

dated August 12, 1997, that the revocation of the OFAC license caused the trademark

registration to revert to Cubaexport, and that HCH no longer had standing to pursue its

infringement claims. The District Court, however, specifically rejected Bacardi’s claim

that the revocation of the license meant that Cubaexport’s registration had to be

cancelled. The District Court’s decision is reported as Havana Club Holding S.A. v.

Galleon, S.A., 974 F. Supp. 302, 311 (S.D.N.Y. 1997).




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       53.     Bacardi, however, recognized that it remained vulnerable to an

infringement claim by Cubaexport. Bacardi began to lobby Congress to interfere in the

pending litigation by passing a bill—for the benefit of Bacardi and only Bacardi—to

interfere with Cubaexport’s ability to enforce its rights. Bacardi’s proposal, however,

met strong opposition in the Senate. Bacardi then arranged for its supporters in the

Senate to insert the proposal at the last minute into a jumbled, 16-inch-thick, 40-pound

omnibus appropriations bill—which reportedly contained email printouts, handwritten

notes, and pages numbered out of sequence—without any notice to the relevant Senate

committees or other senators. As a result of Bacardi’s machinations, the appropriations

bill passed Congress without the opponents of Bacardi’s proposal being aware that the

provision was included. Bacardi’s proposal became law as Section 211 of the Omnibus,

Consolidated and Emergency Supplemental Appropriations Act 1999, Pub. L. No. 105-

277, sec. 211, 112 Stat. 2681 at p. 88 (Oct. 12, 1998) (“Section 211”).

       54.     The underhanded tactics of Bacardi and its supporters in the Senate met

with strong bipartisan condemnation. For example, a Democratic senator decried Section

211 as “snuck into an appropriations bill under the radar of most members of the Senate,

done in a way specifically intended to bypass the normal legislative process.”1 A

Republican senator criticized Section 211 as a provision that “benefits one foreign




1
    Hearing before Senate Committee on the Judiciary, An Examination of the Omnibus Appropriations
    Act of 1998, 108th Cong., 2nd Sess., at 13 (2004) (Statement of Sen. Leahy).




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company alone”—referring to Bacardi—and noted that “no U.S. company receives the

slightest advantage from that law.”2

       55.      Both a panel of the World Trade Organization (“WTO”) Dispute

Settlement Body and the WTO Appellate Body have held that Section 211 violates the

obligations of the United States under the Agreement on Trade-Related Aspects of

Intellectual Property Rights (“TRIPS”)3. In the context of the WTO decisions, editorial

pages across the country were harsh in their condemnation of Section 211 and the manner

in which it was adopted, labeling it, among other things, “a classic case of narrow, well-

financed interests trumping the best interests of the United States.”4 Bacardi, however,

has continued to lobby Congress to prevent the repeal of Section 211, which would bring

the United States into compliance with its obligations under TRIPS and undo the

unilateral advantage that Bacardi deceptively obtained in 1998.

       56.      Section 211, as adopted, imposes restrictions on the registration, renewal

and enforcement of trademarks that were “the same or substantially similar” to

trademarks that had once been used by a “confiscated” Cuban business, even if the


2
    Id. at 58 (Statement of Sen. Craig).
3
    Report of the Panel, Dispute Settlement Body, United States – Section 211 Omnibus Appropriations
    Act of 1998, Doc. No. WT/DS176/R (Aug. 6, 2001), upheld in part and rev’d in part, Appellate Body
    Report, United States — Section 211 Omnibus Appropriations Act of 1998, Doc. No.
    WT/DS176/AB/R, 2002:II DSR 589 (Jan. 2, 2002) (adopted Feb. 1, 2002).
4
    Rum, Macaroni and Bad Politics, Chicago Tribune, Sept. 2, 2002, at 20; see also A Special-Interest
    Cocktail, Washington Times, Jan. 20, 2002 (describing Section 211 as an “ill-conceived ‘Bacardi
    lawsuit law’” that was “virtually scrawled on a napkin,” and was “designed specifically to help out
    rum-maker Bacardi, which has U.S. subsidiaries but is not even a U.S. company”); Rum War:
    Sometimes Even Fidel Castro Is on the Right Side, Houston Chronicle, Nov. 21, 2002, at A34 (calling
    Section 211 a “rum-dumb special-interest law that helps only Bacardi”); Play Fair on Trade Rights,
    South Florida Sun-Sentinel, Mar. 26, 2001, at 22A (opining in regard to Section 211 that “changing
    [trademark] rules in midstream isn’t fair”).




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trademark had been abandoned by its former owner. As Bacardi intended, the only

registered trademark that has ever been subject to Section 211’s restrictions is the

HAVANA CLUB trademark.

       57.     By design, however, Section 211 did not remove from OFAC the

discretion to grant specific licenses authorizing the registration or renewal of particular

trademarks, nor does it bar the enforcement of trademark registrations obtained under

those specific licenses. Section 211 also does not mandate the cancellation of existing

trademark registrations.

       58.     Following Section 211’s passage, the United States District Court for the

Southern District of New York held on April 13, 1999, after a bench trial, that Section

211 prevented HCH and HCI from asserting their remaining claims that Bacardi’s use

violated their trademark rights under treaties to which the United States was a party. The

District Court also held that HCH and HCI lacked standing to sue Bacardi for false

designation of origin because they did not compete with Bacardi in the U.S. market. The

District Court’s decision is reported as Havana Club Holding, S.A. v. Galleon S.A., 62 F.

Supp. 2d 1085 (S.D.N.Y. 1999).

       59.     HCH and HCI appealed, and the United States Court of Appeals for the

Second Circuit affirmed the District Court’s judgment. The Second Circuit’s decision is

reported as Havana Club Holding v. Galleon, S.A., 203 F.3d 116 (2d Cir. 2000).

       60.     Because of these decisions, Bacardi was able to infringe Cubaexport’s

rights without Cubaexport being able to enforce those rights. But Bacardi still had no

rights to the HAVANA CLUB trademark.




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       61.     After the trademark infringement suit concluded, Bacardi’s TTAB

cancellation proceeding from 1995 resumed and, in 2004, the TTAB granted summary

judgment denying all of Bacardi’s asserted grounds for cancellation of Cubaexport’s

registration, including the principal grounds that Bacardi now asserts here.

       62.     Despite the TTAB’s denial of its petition, Bacardi resumed selling rum

labeled “HAVANA CLUB” in the United States in 2006, this time from Puerto Rico.

H.     The otherwise routine renewal of Cubaexport’s trademark registration is
       delayed by Section 211

       63.     Cubaexport’s trademark registration at the USPTO was due for renewal in

2006, as Congress had by that time shortened the renewal period for trademark

registrations from 20 years to 10 years. But through no fault of Cubaexport’s, this

normally routine process went haywire.

       64.     Cubaexport timely submitted a combined renewal application and

declaration of excusable nonuse in 2005 with the required fee to the USPTO. Cubaexport

sent a copy of its application to OFAC.

       65.     On April 6, 2006, OFAC wrote a letter to Cubaexport’s counsel, with a

copy to the USPTO, stating that, in light of Section 211, Cubaexport would need to apply

for a specific license to renew the trademark registration. Cubaexport filed such an

application for an OFAC specific license the next day. In a letter dated July 28, 2006,

OFAC denied Cubaexport’s application for a specific license to permit the renewal of its

longstanding trademark registration, stating that OFAC had received “guidance from [the

Department of] State informing us that it would be inconsistent with U.S. policy to issue




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a specific license authorizing transactions related to the renewal of the HAVANA CLUB

trademark.”

        66.     On August 3, 2006, USPTO’s post-registration staff informed Cubaexport

that its renewal could not be accepted because of OFAC’s denial of a specific license.

Cubaexport then petitioned the Director of the USPTO (acting through the Commissioner

of Trademarks) on October 4, 2006, as authorized by 37 C.F.R. § 2.146(a), to review the

USPTO staff’s refusal to accept Cubaexport’s timely renewal application and fee

payment.

        67.     Cubaexport also filed a civil action against OFAC challenging, among

other things, its refusal to issue a license and the applicability and constitutionality of

Section 211. The petition to the USPTO Director was stayed during the pendency of that

suit. The District Court entered summary judgment for OFAC on the ground, among

others, that issuance or refusal of the license was a matter of OFAC’s discretion. The

dismissal was affirmed (over a dissent) on appeal, and the United States Supreme Court

denied certiorari on May 14, 2012. The case is reported as Empresa Cubana

Exportadora de Alimentos y Productos Varios v. United States Department of the

Treasury, 606 F. Supp. 2d 59 (D.D.C. 2009), aff’d, 638 F.3d 794 (2011), cert. denied,

566 U.S. 986 (2012).

        68.     In 2012, at risk of losing its valuable trademark rights through no fault of

its own and due in large part to Bacardi’s behind-the-scenes lobbying efforts, Cubaexport

wrote to the USPTO regarding its still-pending petition, noting that the Cuban Assets

Control Regulations (31 C.F.R. Part 515) appeared to require that the trademark be frozen




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rather than “cancelled” under Lanham Act § 8 (15 U.S.C. § 1058) or “expired” under

Lanham Act § 9 (15 U.S.C. § 1059) in the absence of an OFAC license. The USPTO

sought guidance from OFAC, which suggested that recording the expiration under

Lanham Act § 9 did not require a license, but OFAC did not address the issue of

cancellation under Lanham Act § 8, nor is it clear from OFAC’s letter that OFAC fully

understood the USPTO’s renewal and declaration-of-use processes. The USPTO did not

immediately act on Cubaexport’s petition or OFAC’s guidance.

I.     After a shift in U.S.-Cuba relations, OFAC licenses Cubaexport’s trademark
       renewal

       69.     In December 2014, U.S. President Barack Obama and Cuban President

Raúl Castro jointly announced a new direction in U.S.-Cuban relations, and the two

countries took a number of steps in 2015 to implement that approach, including the

restoration of diplomatic relations in July 2015.

       70.     In light of these shifts in U.S. foreign policy, Cubaexport filed a new

application for a specific license with OFAC in November 2015. This new application

was specifically authorized by U.S. law because OFAC’s regulations provide that “[t]he

denial of a specific license does not preclude the reconsideration of an application or the

filing of a further application.” 31 C.F.R. § 501.801(b)(5).

       71.     Cubaexport’s application asked OFAC to reconsider its 2006 foreign-

policy-based denial of Cubaexport’s application “in light of recent developments in U.S.

policy toward Cuba and the changed diplomatic situation between the two nations.” The

application requested a specific license to allow Cubaexport to renew its trademark




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registration, both for the 10-year period starting in 2006 and the additional 10-year period

starting in 2016, and it noted OFAC’s power to validate the 2006 transactions

retroactively.

       72.       Among other things, Cubaexport’s license application to OFAC noted that

“the dispute over who is the rightful owner of the HAVANA CLUB trademark in the

United States is a commercial dispute … over an intellectual property right”, which

should be resolved in court; that Bacardi had sought to “short-circuit the normal

operation of the judicial process by seeking to prevent Cubaexport from renewing its

registration at all”; that “nothing in Section 211 purports to restrict OFAC’s specific

licensing authority”; and that allowing the 2006 and 2016 renewals would be consistent

with multiple U.S. policy interests, including the interest in protecting U.S. companies’

intellectual property rights in Cuba and around the world.

       73.       OFAC granted specific license No. CU-2015-323847-1 on January 11,

2016, authorizing all transactions necessary for the 2006 and 2016 renewals of

Cubaexport’s trademark registration. The authorized transactions specifically included

transactions “related to Cubaexport’s submission filed with the USPTO on or about

December 14, 2005, and the payment referenced therein.” The validation of past

transactions is specifically authorized by U.S. law, as OFAC’s regulations recognize that

an OFAC license may “authorize or validate any transaction effected prior to the issuance

thereof” if “such license or other authorization specifically so provides.” 31 C.F.R.

§ 515.502(a).




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       74.     After receiving a copy of the specific license, the Commissioner of

Trademarks, on behalf of the USPTO Director, granted Cubaexport’s Petition (which was

then still pending) and accepted the 2006 and 2016 renewals and the associated fee

payments.

J.     Cubaexport is once again able to enforce its trademark rights

       75.     As a result of the renewal of the HAVANA CLUB trademark under an

OFAC specific license, Section 211 no longer bars Cubaexport from enforcing its

trademark rights. Section 211(a)(2), which is the relevant clause of Section 211, only

bars recognition of an “assertion of rights” in certain trademarks (i) at “common law” or

(ii) under a “registration obtained” under “Section 515.527” of Title 31 of the Code of

Federal Regulations, which is the OFAC general license authorizing Cuban nationals to

register and renew trademarks in the United States. In this Counterclaim, Cubaexport is

asserting trademark rights arising under the 2006 and 2016 renewals of its registration.

Those renewals were obtained under the specific license that OFAC granted in 2016

rather than under the general license in Section 515.527, under which Cubaexport had

obtained its original registration in 1976.

       76.     Accordingly, nothing in Section 211(a)(2) restricts Cubaexport’s right to

assert this Counterclaim. The U.S. Court of Appeals for the D.C. Circuit has held, in

Cubaexport’s case against OFAC, that renewal of a trademark registration creates new

rights that are distinct from the rights under the original registration. Moreover, under

federal case law and OFAC precedent, a transaction for renewal of a trademark

registration is itself a “registration”. This result also is consistent with the scheme of




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Section 211(a)(2), which gives OFAC broad discretion to grant or deny a license for

registration or renewal of a covered trademark in the United States.


                         SOLE COUNTERCLAIM COUNT
                     (Trademark Infringement, 15 U.S.C. § 1114)

       77.     Cubaexport realleges and incorporates by reference the allegations of

paragraphs 1 through 76 above.

       78.     Cubaexport owns the rights to the registered U.S. trademark for

HAVANA CLUB & Design, registered as Reg. No. 1,031,651 in the United States Patent

and Trademark Office.

       79.     The following is a true and accurate image of the trademark in

Cubaexport’s registration as it appears in the USPTO records:




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       80.     Bacardi has been and is using the trademark “HAVANA CLUB” in

connection with the sale, offering for sale, distribution and advertising of Puerto Rican

rum in the United States.

       81.     The following are true and accurate images of Bacardi’s bottles using the

HAVANA CLUB name, which are currently being sold in the United States:




       82.     Bacardi’s use of the name HAVANA CLUB, which is identical to the

name in the mark registered by Cubaexport, is likely to cause confusion, or to cause

mistake, or to deceive.

       83.     Cubaexport’s rights in the HAVANA CLUB trademark are senior to any

alleged rights claimed by Bacardi, because, among other reasons,




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             (a)      Cubaexport’s trademark registration No. 1,031,651 has priority from

                      the date of filing of its underlying Cuban trademark registration in

                      1974, or in the alternative from its initial application for registration

                      with the USPTO in 1974;

             (b)      Bacardi’s use of the HAVANA CLUB mark only dates from 2006 or,

                      in the alternative, 1995;

             (c)      in any event, Bacardi’s use of the HAVANA CLUB mark was

                      deceptive and therefore gave rise to no common-law rights;

             (d)      JASA abandoned any rights in its HAVANA CLUB trademark in or

                      before 1973, and therefore JASA had no rights to assign when certain

                      of its shareholders purported to sell JASA’s rights to the newly formed

                      Liechtenstein joint-stock company José Arechabala International Ltd.

                      (“JAI”) in 1997, which then purported to sell the rights to Bacardi &

                      Co. Ltd.; and

             (e)      in any event, the shareholders who purported to transfer JASA’s rights

                      to JAI lacked authority to act on behalf of JASA.

       84.         Judicial recognition of Cubaexport’s rights arising from its trademark

registration is not barred by Section 211(b) of the Omnibus, Consolidated and Emergency

Supplemental Appropriations Act 1999, Pub. L. No. 105-277, because the current

renewal of the trademark registration was obtained under OFAC specific license No. CU-

2015-323847-1, and not under section 515.527 of Title 31, Code of Federal Regulations.




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       85.     Cubaexport has not consented to Bacardi’s use of the HAVANA CLUB

trademark.

       86.     Bacardi’s use of the HAVANA CLUB trademark infringes Cubaexport’s

rights arising from its U.S. trademark registration No. 1,031,651 in violation of

Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       87.     Cubaexport lacks an adequate remedy at law.

       88.     Cubaexport will suffer irreparable harm, including to its trademark rights,

its ability to use its trademarks in the future, and the reputation of its trademarks, unless

Bacardi’s infringing use is enjoined pursuant to Section 34(a) of the Lanham Act,

15 U.S.C. § 1116(a).

       89.     Wherefore, Cubaexport requests that the Court enter the injunctive and

other relief against the plaintiffs set forth below in Part V of this Counterclaim and

Answer.


                                      III.
                       ANSWER TO SPECIFIC ALLEGATIONS
                       OF THE FIRST AMENDED COMPLAINT

       Cubaexport answers each of the numbered paragraphs of the First Amended

Complaint as follows:

       1.      Deny, except admit the first two sentences of Paragraph 1; refer to the

referenced USPTO records and TTAB Decisions for their true and complete contents;

admit that Bacardi has brought this civil action; refer to the First Amended Complaint for




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identification of the relief that Bacardi seeks; and deny that Bacardi is entitled to this or

any relief.

        2.     Deny.

        3.     Deny, except admit that JASA’s property in Cuba was nationalized in

1960, that JASA’s last U.S. HAVANA CLUB trademark registration expired in 1973,

and that Cubaexport in 1974 sought and obtained U.S. Trademark Registration No.

1,031,651, HAVANA CLUB & Design, for rum.

        4.     Deny, except admit that the United States District Court for the Southern

District of New York issued a decision in Havana Club Holding, S.A. v. Galleon S.A., 95

Civ. 9655 (SAS), on August 12, 1997, and refer to the decision for its true and complete

contents.

        5.     Deny, except admit that the TTAB rendered a decision on or about

January 29, 2004, denying Bacardi’s petition to cancel the registration, and refer to the

decision of the TTAB for its true and complete contents.

        6.     Deny that Bacardi is entitled to any of the relief it seeks and refer to the

First Amended Complaint in this action for identification of the relief sought.

        7.     Deny knowledge or information sufficient to form a belief as to the truth

of Bacardi’s allegations in the first sentence of Paragraph 7. Deny the second sentence of

Paragraph 7.

        8.     Deny knowledge or information sufficient to form a belief as to Bacardi’s

allegations, except admit that Bacardi & Co. Limited (“BACO”) and/or certain of its

affiliates and/or their respective licensees and distributors produce and market distilled




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spirits in many countries around the world, and admit that BACO was a party to the

cancellation proceeding at the TTAB.

        9.      Deny, except deny knowledge and information sufficient to form a belief

as to the truth of the allegations of the fifth sentence of paragraph 9.

        10.     Deny knowledge or information sufficient to form a belief as to the truth

of Bacardi’s allegations.

        11.     Deny.

        12.     Deny knowledge or information sufficient to form a belief as to the truth

of Bacardi’s allegations, except admit that BACO was substituted for Galleon in the

litigation captioned Havana Club Holding, S.A. v. Galleon S.A., 96 Civ. 9644 (SAS), and

admit that BACO is the successor by merger to Galleon, succeeded to its assets, and

assumed its liabilities.

        13.     Deny knowledge or information sufficient to form a belief as to the truth

of Bacardi’s allegations.

        14.     Deny, except admit that Bacardi U.S.A. began selling rum in the United

States that it misleadingly labeled as HAVANA CLUB.

        15.     Deny, except admit that BACO has filed a U.S. trademark application with

the USPTO, serial no. 74/572,667, for registration of the word mark HAVANA CLUB

for rum; admit that the application was filed as an intent-to-use application and was later

amended to allege use from 1934; and state that the application is currently suspended.

        16.     Admit.




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        17.    Admit, except deny that Pernod Ricard S.A. currently has offices at

142 Boulevard Hausmann.

        18.    Admit.

        19.    Deny, except admit that Havana Club Holding, S.A. (“HCH”) is organized

under the laws of Luxembourg, that HCH holds trademark rights to HAVANA CLUB in

countries other than Cuba, and that it is considered a Cuban national for purposes of the

Cuban Assets Control Regulations.

        20.    Admit.

        21.    Deny, except admit that the Court has subject-matter jurisdiction as to

Count I of the First Amended Complaint, and further admit that venue is proper in this

district.

        22.    Deny knowledge or information sufficient to form a belief as to the truth

of Bacardi’s allegations.

        23.    Deny knowledge or information sufficient to form a belief as to the truth

of Bacardi’s allegations except refer to the referenced trademark registrations for their

true and complete contents.

        24.    Deny knowledge or information sufficient to form a belief as to the truth

of Bacardi’s allegations and refer to the referenced trademark registrations for their true

and complete contents.

        25.    Deny knowledge or information sufficient to form a belief as to the truth

of Bacardi’s allegations.




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        26.     Deny knowledge or information sufficient to form a belief as to the truth

of Bacardi’s allegations.

        27.     Deny that members of the family who ran the rum distillery and other

family businesses were expelled, deny that executives and shareholders were eventually

forced to leave Cuba, and otherwise deny knowledge or information sufficient to form a

belief as to the truth of Bacardi’s allegations.

        28.     Deny, except admit that under Law No. 890, dated October 13, 1960, the

Cuban Government nationalized a number of Cuban businesses, including JASA and

Compañía Ron Bacardi, S.A., and refer to Law No. 890 for its true and complete

contents.

        29.     Deny, except refer to Law No. 890 for its true and complete contents.

        30.     Deny, except admit that the Cuban government legally transferred to

Cubaexport the Cuban trade names and Cuban trademark registrations expropriated from

JASA.

        31.     Deny knowledge or information sufficient to form a belief as to the truth

of Bacardi’s allegations in the first sentence. Deny the allegations in the second sentence,

and deny that Havana Club rum is currently produced through use of any of the alleged

assets identified in Paragraph 31.

        32.     Deny.

        33.     Refer to the laws and regulations referenced in Paragraph 33 for their true

and complete contents, and aver that the allegations in Paragraph 33 assert a legal

conclusion to which no response is required.




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        34.    Refer to the CACR for their true and complete contents, and aver that the

allegations in Paragraph 34 assert a legal conclusion to which no response is required.

        35.    Refer to the CACR for their true and complete contents, and aver that the

allegations in Paragraph 35 assert legal conclusions to which no response is required.

        36.    Refer to the CACR for their true and complete contents, and aver that the

allegations in Paragraph 36 assert legal conclusions to which no response is required.

        37.    Deny.

        38.    Refer to Section 211 for its true and complete contents, and otherwise

deny.

        39.    Refer to the referenced statute and regulations for their true and complete

contents.

        40.    Deny.

        41.    Deny.

        42.    Deny, except admit that, subsequent to the abandonment and expiration of

JASA’s HAVANA CLUB Registrations, Cubaexport applied to the USPTO, under

15 U.S.C. § 1126, to register a trademark consisting of a label design displaying the

words HAVANA CLUB, and that this application claimed priority based on Cuban

Registration No. 110,353.

        43.    Refer to the application for its true and complete contents, aver that the

allegations in paragraph 43 state a legal conclusion to which no response is required, and

deny to the extent that a response is required.




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       44.     Deny, except admit that the HAVANA CLUB trademark that Cubaexport

registered in the United States includes the Spanish legend “Fundada en 1878”, refer to

U.S. Reg. No 1,031,651 for its true and complete contents, and admit that Cubaexport

was founded in 1965.

       45.     Deny.

       46.     Deny.

       47.     Deny.

       48.     Admit and refer to U.S. Reg. No 1,031,651 for its true and complete

contents.

       49.     Deny, and further deny that JAI or BACO are JASA’s bona fide

successors in interest or that the consent of JASA, JAI, their shareholders or BACO was

necessary for the registration and use complained of.

       50.     Aver that the allegations assert legal conclusions to which no response is

required; and deny the allegations to the extent a response is required.

       51.     Refer to Section 44 and Sections 1 and 45 of the Lanham Act for their true

and complete contents; aver that the allegations assert legal conclusions to which no

response is required; and deny the allegations to the extent a response is required.

       52.     Deny, except admit only that Cubaexport has never sold rum in the United

States under the HAVANA CLUB & Design mark and that Cubaexport’s non-use of the

trademark for rum in the United States is excused by the Cuban embargo under the

excusable-non-use-doctrine, and refer to Section 8 of the Lanham Act for its true and

complete contents.




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       53.      Denied, except admit that Cubaexport filed an affidavit with the USPTO

on January 12, 1982, in respect of the U.S. HAVANA CLUB Registration; refer to the

affidavit for its true and complete contents; and further aver that the first sentence of

Paragraph 53 asserts legal conclusions to which no response is required.

       54.      Deny.

       55.      Deny, except admit that Pernod Ricard S.A., Havana Rum & Liquors S.A.,

and Corporación Cuba Ron entered into a Convenio Asociativo creating two joint

ventures in 1993.

       56.      State that no response is required because Bacardi’s claim that Cubaexport

abandoned its trademark rights has been dismissed. To the extent a response is required,

deny, except admit the second sentence and deny knowledge and information sufficient

to form a belief as to the third sentence.

       57.      Admit and refer to the Convenio Asociativo dated November 23, 1993 for

its true and complete contents.

       58.      Deny, except admit that Pernod Ricard paid to HRL a fixed sum, the

amount of which has not been publicly disclosed; deny knowledge or information

sufficient to form a belief as to the truth of the allegation that the payment is “believed to

be many millions of dollars”; and admit the allegation contained in the final sentence of

Paragraph 58.

       59.      Deny knowledge or information sufficient to form a belief as to the truth

of the allegations in the first and third sentences of Paragraph 59, but admit the allegation

contained in the second sentence of Paragraph 59.




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        60.    State that no response is required because Bacardi’s claim that Cubaexport

abandoned its trademark rights has been dismissed. To the extent a response is required,

deny, except admit that Cubaexport executed a written assignment dated January 10,

1994; refer to the assignment for its true and complete contents; state that Cubaexport

subsequently applied for and obtained an OFAC license validating the transfer of the U.S.

registration; state that OFAC subsequently retroactively revoked the license as a result of

lobbying by Bacardi; state that the United States District Court for the Southern District

of New York and the United States Court of Appeals for the Second Circuit in Havana

Club Holding S.A. v. Galleon S.A., held that the result of the revocation was that

ownership of the registration reverted to Cubaexport; and refer to the decisions of the

courts in that case for their true and complete contents.

        61.    State that no response is required because Bacardi’s claim that Cubaexport

abandoned its trademark rights has been dismissed. To the extent a response is required,

deny knowledge or information sufficient to form a belief as to what HRL, HCH and

Pernod understood and intended, but otherwise admit and refer to the written instrument

implementing the transfer for its true and complete terms.

        62.    State that no response is required because Bacardi’s claim that Cubaexport

abandoned its trademark rights has been dismissed. To the extent a response is required,

deny.

        63.    Deny knowledge or information sufficient to form a belief as to the truth

of Bacardi’s allegations.

        64.    Deny.




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       65.     Deny.

       66.     Deny.

       67.     Deny knowledge or information sufficient to form a belief as to the truth

of Bacardi’s allegations.

       68.     Admit that on May 9, 1994, Jose Maria Arechabala Rodrigo filed a

cancellation petition against U.S. Registration No. 1,031,651 and refer to that petition for

its true and complete contents.

       69.     Deny, except admit that a deed of assignment was executed on June 24,

1994; refer to that deed of assignment for its true and complete contents; admit that the

United States District Court for the Southern District of New York and the United States

Court of Appeals for the Second Circuit in Havana Club Holding S.A. v. Galleon S.A.,

held that the transfer was invalid in view of the revocation of the OFAC license that had

permitted it and that the rights in the trademark reverted to Cubaexport as stated in the

response to paragraph 60 above; and refer to the decisions of the courts in that case for

their true and complete contents.

       70.     Deny, except admit only the allegations contained in the first and second

sentences of Paragraph 70, and refer to the documents submitted in the USPTO and

TTAB proceedings for their true and complete contents.

       71.     Admit that the proceeding was dismissed by the TTAB and refer to the

TTAB decision for its true and complete contents.

       72.     Deny knowledge or information sufficient to form a belief as to the truth

of Bacardi’s allegations.




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       73.     Deny.

       74.     Deny knowledge or information sufficient to form a belief as to the truth

of Bacardi’s allegations, refer to the referenced documents for their true and complete

contents, and deny the validity of the alleged transfers.

       75.     Deny.

       76.     Deny knowledge or information sufficient to form a belief as to the truth

of Bacardi’s allegations.

       77.     Refer to the alleged BATF approval for its true and complete contents;

deny that the misbranded rum sold by Bacardi is properly described as “HAVANA

CLUB rum”; and otherwise deny knowledge or information sufficient to form a belief as

to the truth of Bacardi’s allegations.

       78.     Admit that Galleon filed an “intent-to-use” application on or about

September 12, 1994, and refer to the application for its true and complete contents.

       79.     Deny, except admit that Galleon and Bacardi U.S.A. initiated a

cancellation proceeding in July 1995 and refer to the cancellation petition for its true and

complete contents.

       80.     Deny, except admit that Cubaexport, HRL and HCH applied for an OFAC

license on October 5, 1995, and refer to that application for its true and complete

contents.

       81.     Admit that OFAC granted License No. C-18147 on or about November

13, 1995, and refer to that License for its true and complete contents.




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       82.     Deny, except admit that HCH filed a renewal application in 1996 and that

the USPTO issued a Certificate of Renewal for the HAVANA CLUB registration in the

name of HCH, and refer to the application, the accompanying declaration and the

certificate of renewal for their true and complete contents.

       83.     Admit that HCH and HCI filed an action captioned Havana Club Holding,

S.A. et al. v. Galleon S.A. et al., No. 96 Civ. 9655 (SAS), in the U.S. District Court for the

Southern District of New York in December 1996 and refer to the pleadings in that action

for their true and complete contents.

       84.     Admit and refer to the TTAB stay order for its true and complete contents.

       85.     Admit and refer to the Notice of Revocation for its true and complete

contents.

       86.     Admit that on or about August 8, 1997, the United States District Court

for the Southern District of New York issued an Opinion and Order, and refer to the

Opinion and Order for its true and complete contents.

       87.     Admit that on or about October 20, 1997, the United States District Court

for the Southern District of New York rendered a Partial Judgment, and refer to that

Partial Judgment for its true and complete contents.

       88.     Deny, and refer to the October 20, 1997 Partial Judgment for its true and

complete contents.

       89.     Deny, except admit that a bench trial was held; state that on or about June

25, 1999, the United States District Court for the Southern District of New York issued




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an Amended Opinion and Order; and refer to that Amended Opinion and Order for its

true and complete contents.

       90.     Deny, except admit that on February 4, 2000, a three-judge panel of the

United States Court of Appeals for the Second Circuit unanimously affirmed the trial

court’s judgment; that the decision is reported at 203 F.3d 116; that the Court of Appeals

issued its mandate on February 25, 2000; that HCH and HCI petitioned the United States

Supreme Court for a writ of certiorari; and that that Court denied the writ on October 2,

2000; and refer to the referenced decisions for the true and complete contents thereof.

       91.     Deny, except admit that the USPTO issued an Order to Show Cause on

October 26, 2001, and refer to that document for its true and complete contents.

       92.     Deny, except admit the first sentence of Paragraph 92, and refer to the

Notice of Recordal and related Order for their true and complete contents.

       93.     Admit that the USPTO issued a notice pursuant to 15 U.S.C. § 1119 on or

about January 15, 2002, and refer to that notice for its true and complete contents.

       94.     Deny, except admit that Cubaexport, HRL, HCH, HCI, Cuba Ron and

Pernod Ricard entered into an agreement on March 19, 2002, and refer to that agreement

for its true and complete contents.

       95.     Admit, except refer to the referenced motion and TTAB orders for their

true and complete contents.

       96.     Deny, except admit that Bacardi asserted certain grounds in its summary

judgment motion, and refer to the motion and accompanying memorandum of law for

their true and complete contents.




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       97.     Deny, except admit that the TTAB denied Bacardi’s motion for summary

judgment on or about January 29, 2004 and refer to that decision for its true and complete

contents.

       98.     Deny and refer to the TTAB’s decision dated January 29, 2004, for its true

and complete contents.

       99.     Deny and refer to the TTAB’s decision dated January 29, 2004, for its true

and complete contents.

       100.    Deny and refer to the TTAB’s decision dated January 29, 2004, for its true

and complete contents.

       101.    Deny and refer to the TTAB’s decision dated January 29, 2004, for its true

and complete contents.

       102.    Deny and refer to the TTAB’s decision dated January 29, 2004, for its true

and complete contents, and further state that Section 211 was not applicable to any issue

presented to or decided by the TTAB.

       103.    Deny and refer to the TTAB’s decision dated January 29, 2004, for its true

and complete contents.

       104.    Deny and refer to the TTAB’s decision dated January 29, 2004, for its true

and complete contents.

       105.    Deny and refer to the TTAB’s decision dated January 29, 2004, for its true

and complete contents.

       106.    Deny and refer to the TTAB’s decision dated January 29, 2004, for its true

and complete contents.




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       107.    Deny.

       108.    Admit that on or about January 26, 2005, Cubaexport’s counsel applied to

OFAC for a specific license authorizing its counsel to receive fees and expenses in

connection with representation of Cubaexport in litigation; admit that OFAC granted

License No. CU-74488 on or around March 4, 2005; and refer to the application and

license for their true and complete contents.

       109.    Deny and refer to the affidavit for its true and complete contents.

       110.    Deny and refer to the affidavit for its true and complete contents.

       111.    Admit that OFAC sent a letter to Cubaexport’s counsel and the USPTO on

or about April 6, 2006, and that Ropes & Gray sent a license application to OFAC on or

about April 6, 2006, and refer to those documents for their true and complete contents.

       112.    Admit that Cubaexport’s counsel wrote to the USPTO on or about June

14, 2006 and refer to that correspondence for its true and complete contents.

       113.    Admit that a USPTO Office Action was initiated on or about July 20, 2006

and refer to that Office Action for its true and complete contents.

       114.    Admit that on or about July 28, 2006, OFAC sent a letter denying

Cubaexport’s April 7, 2006 request for a specific license and refer to that correspondence

for its true and complete contents.

       115.    Admit that an Office Action was initiated on or about August 3, 2006 and

refer to that Office Action for its true and complete contents.




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       116.    Admit that on or about October 4, 2006, Cubaexport petitioned the

Director of the USPTO to review the August 3, 2006 Office Action and refer to that

petition for its true and complete contents.

       117.    Deny, except admit and state that Cubaexport filed an action captioned

Empresa Cubana Exportadora de Alimentos y Productos Varios v. U.S. Dep’t of

Treasury, et al., Case No. 06-cv-1692, in the United States District Court for the District

of Columbia (the “OFAC Action”), that the USPTO stayed action on the October 4, 2006

petition pending disposition of the OFAC action, that the district court in the OFAC

Action dismissed Cubaexport’s claims on March 30, 2009, that a panel of the United

States Court of Appeals for the District of Columbia Circuit upheld the dismissal of

Cubaexport’s claims by a 2-1 vote on March 29, 2011, and that the United States

Supreme Court denied Cubaexport’s petition for a writ of certiorari; and refer to the

complaint in the OFAC Action and the referenced court decisions for their true and

complete contents.

       118.    Deny, except admit that on or about June 8, 2012, Cubaexport sent

correspondence to the USPTO concerning the status of its litigation against OFAC and

refer to that correspondence for its true and complete contents.

       119.    Admit that Cubaexport wrote to OFAC on July 11, 2012; admit that on

August 31, 2012, OFAC wrote to the USPTO; admit that on September 27, 2012, the

USPTO wrote to OFAC; and refer to that correspondence for its true and complete

contents.




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       120.    Admit that on November 30, 2012, OFAC wrote to the USPTO, and refer

to that correspondence for its true and complete contents.

       121.    Deny, except admit the USPTO did not remove Cubaexport’s registration

from its records and that Bacardi’s application to register a HAVANA CLUB mark

remains suspended.

       122.    Deny, except admit that on or about November 10, 2015, Cubaexport

submitted an application to OFAC for a specific license and refer to that application for

its true and complete contents.

       123.    Deny, except admit OFAC granted Cubaexport’s application for a specific

license on or about January 11, 2016, that a copy of the license was filed with the USPTO

on or about January 12, 2016, and that on or about January 13, 2016, the USPTO granted

Cubaexport’s 2006 petition, and refer to the license application, the license, and the

USPTO order for their true and complete contents.

       124.    Deny, except admit and state that Pernod Ricard USA LLC sued Bacardi

U.S.A., Inc. in the United States District Court for the District of Delaware in or around

August 2006 asserting that specific claims on Bacardi’s label, in context, falsely

advertised that the rum it sold in the United States was a product of Cuba in violation of

Section 43(a) of the Lanham Act; admit that following a bench trial, judgment was

entered in favor of Bacardi U.S.A., Inc. in or around April 2010; admit that the judgment

was affirmed by the United States Court of Appeals for the Third Circuit in August 2011;

and refer to the pleadings and the court decisions in that case for the true and complete

contents thereof.




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       125.    Deny, except admit that Cubaexport will continue to take legal action to

preserve its rights in the HAVANA CLUB trademark, and deny knowledge or

information sufficient to form a believe as to the accuracy of the quotation in the

Beverage Daily article cited in Paragraph 125.

       126.    Deny, except state that Bacardi has initiated litigation challenging

ownership of foreign HAVANA CLUB trademark rights in jurisdictions outside the

United States and that Bacardi has consistently lost those litigations.

       127.    Deny knowledge or information sufficient to form a belief as to the truth

of Bacardi’s allegations, except admit and state, on information and belief, that both

Pernod Ricard and Bacardi have lobbied Congress in connection with proposed

legislation to amend or repeal Section 211, and refer to any pleadings in prior trademark

infringement actions brought by HCH for their true and complete contents.

       128.    Deny, except refer to the public statements of Pernod’s CEO for their true

and complete contents.

       129.    Deny knowledge or information sufficient to form a belief as to the truth

of Bacardi’s allegations, except refer to the February 26, 2016 Certificate of Label

Authorization for its true and complete contents.

       130.    Admit that Cubaexport intends to enforce its rights to the fullest extent of

the law, but otherwise deny.




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                                ANSWER TO COUNT I
                (Rectification of Register / Cancellation of Registration)

        131.    Cubaexport repeats and re-alleges each of its responses to Paragraphs 1 to

130 as if fully set forth herein.

        132.    Deny and refer to the referenced judgment for its true and complete

contents.

        133.    State that paragraph 133 states a legal conclusion to which no response is

required, and deny to the extent a response is required.

        134.    Deny.

        135.    Deny, except admit that a Renewal Declaration was filed by HCH on or

about January 18, 1996, and refer to the Renewal Declaration and the judgment

referenced in paragraph 135 for their true and complete contents.

        136.    Deny.

        137.    Deny and state that a renewal application and declaration were filed in the

name of HCH rather than Cubaexport because, at the time, HCH was the holder of record

and the sole entity with rights to file for renewal.

        138.    Deny.

        139.    Cubaexport repeats and re-alleges each of its responses to Paragraphs 1 to

130 as if fully set forth herein.

        140.    Deny.

        141.    Deny.

        142.    Deny.




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        143.    Cubaexport repeats and re-alleges each of its responses to Paragraphs 1 to

130 as if fully set forth herein.

        144.    Deny

        145.    Deny, except admit that Cubaexport applied to the USPTO, pursuant to

Section 44 of the Lanham Act among other grounds, to register the HAVANA CLUB

trademark based on the newly issued Cuban registration No. 110,353, dated February 12,

1974; and refer to the application for its true and complete contents.

        146.    Deny and refer to the application for its true and complete contents.

        147.    Deny.

        148.    Deny, except admit that Cubaexport never obtained a “secret Arechabala

family formula” to produce HAVANA CLUB rum and deny that any such formula exists.

        149.    Deny.

        150.    Admit.

        151.    Deny and further deny that Bacardi is “JASA’s bona fide successor in

interest” or that any consent was necessary.

        152.    Aver that the first sentence states a legal conclusion to which no response

is required; admit that on or about January 12, 1982, Cubaexport filed an affidavit with

the USPTO; and refer to that affidavit for its true and complete contents.

        153.    Deny.

        154.    Deny, except admit that Cubaexport filed an affidavit in the USPTO

signed by Francisco Santiago Pichardo on or about December 13, 2005, and refer to the

affidavit for its true and correct contents.




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        155.    Deny.

        156.    Deny.

        157.    Cubaexport repeats and re-alleges each of its responses to Paragraphs 1 to

130, as if fully set forth herein.

        158.    Deny, and refer to the OFAC license application for its true and complete

contents.

        159.    Deny, and refer to the Renewal Declaration for its true and complete

contents.

        160.    Deny knowledge or information sufficient to form a belief as to Bacardi’s

allegations, and further deny that HCH was not the true owner of the U.S. HAVANA

CLUB & Design mark at that time.

        161.    Deny.

        162.    Bacardi’s claim for cancellation based on alleged abandonment has been

dismissed by the Court, and therefore no response is required. To the extent any response

may be required, Cubaexport repeats and re-alleges each of its responses to Paragraphs 1

to 130 as if fully set forth herein.

        163.    Bacardi’s claim for cancellation based on alleged abandonment has been

dismissed by the Court, and therefore no response is required.

        164.    Bacardi’s claim for cancellation based on alleged abandonment has been

dismissed by the Court, and therefore no response is required.

        165.    Bacardi’s claim for cancellation based on alleged abandonment has been

dismissed by the Court, and therefore no response is required.




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        166.    Bacardi’s claim for cancellation based on alleged abandonment has been

dismissed by the Court, and therefore no response is required.

        167.    Bacardi’s claim for cancellation based on alleged abandonment has been

dismissed by the Court, and therefore no response is required.

        168.    Bacardi’s claim for cancellation based on alleged abandonment has been

dismissed by the Court, and therefore no response is required.

        169.    Cubaexport repeats and re-alleges each of its responses to Paragraphs 1 to

130 as if fully set forth herein.

        170.    Deny.

        171.    Deny.

        172.    Deny.

        173.    Deny.

        174.    Deny.


                             ANSWER TO COUNT II
 (Request for Declaration of Common Law Rights in the Havana Club Trademark)

        175.    Cubaexport repeats and re-alleges each of its responses to Paragraphs 1 to

130 as if fully set forth herein.

        176.    Deny.

        177.    Deny.

        178.    Deny.

        179.    Deny, except refer to Section 211 for its true and complete contents, and

further deny that Bacardi is “JASA’s bona fide successor in interest”.




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        180.    Deny.


                             ANSWER TO COUNT III
       (Request for Declaration of Non-Violation of Federal Trademark Laws)

        181.    Cubaexport repeats and re-alleges each of its responses to Paragraphs 1 to

130 as if fully set forth herein.

        182.    Deny.

        183.    Deny.

        184.    Deny.

        185.    Deny.


                              ANSWER TO COUNT IV
                (Request for Declaration of Non-Violation of State Law)

        186.    Count IV has been dismissed by the Court, and therefore no response is

required. To the extent any response may be required, Cubaexport repeats and re-alleges

each of its responses to Paragraphs 1 to 130 as if fully set forth herein.

        187.    Count IV has been dismissed by the Court, and therefore no response is

required.

        188.    Count IV has been dismissed by the Court, and therefore no response is

required.

        189.    Count IV has been dismissed by the Court, and therefore no response is

required.

        190.    Deny that plaintiffs are entitled to the relief requested in paragraph 190 or

to any other relief.




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                                   IV.
                     AFFIRMATIVE AND OTHER DEFENSES

       Cubaexport affirmatively sets forth the following defenses; by setting forth these

defenses, Cubaexport does not assume the burden of proving any fact, issue, or element

of claim where such burden properly belongs to Bacardi; and nothing herein constitutes

an admission that the defense is an affirmative defense rather than a general defense:


                                    FIRST DEFENSE
                                     (General Denial)

       1.      Except as otherwise expressly admitted in this Counterclaim and Answer,

Cubaexport hereby denies each and every allegation contained in the First Amended

Complaint to which a response is or may be required, including, without limitation, any

allegations contained in headings, subheadings, introductory paragraphs or prayers for

relief within the First Amended Complaint, and any allegations to which Cubaexport has

otherwise not responded if and to the extent the Court determines that a response is

required.


                                 SECOND DEFENSE
             (Failure to State a Claim on Which Relief Can Be Granted)

       2.      Bacardi’s claims, in whole or in part, fail to state a claim upon which relief

can be granted.


                                   THIRD DEFENSE
                                  (Collateral Estoppel)

       3.      Bacardi’s claims are barred, in whole or in part, by the doctrine of

collateral estoppel, including by reason of the judgment of the United States District




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Court for the Southern District of New York in Havana Club Holding, S.A. v. Galleon

S.A., 95 Civ. 9655 (SHS), and the United States Court of Appeals for the Second Circuit

on appeal from that judgment.


                                   FOURTH DEFENSE
                                  (Act of State Doctrine)

       4.      Bacardi’s claims are barred, in whole or in part, by the Act of State

Doctrine, which precludes U.S. courts from questioning the validity of the acts of a

foreign state within its own jurisdiction.


                              FIFTH DEFENSE
             (Unclean Hands—Fraudulent Application for Registration)

       5.      The allegations of paragraphs 41 to 46 of Cubaexport’s Counterclaim

(Part II, above) are incorporated by reference as if fully set forth herein. Bacardi’s claims

are barred in whole or in part by the doctrine of unclean hands, including because Bacardi

is seeking relief in whole or in part for the purpose of clearing the way for its application

to register a HAVANA CLUB trademark that is premised on false and/or fraudulent

representations.


                              SIXTH DEFENSE
            (Unclean Hands—Passing Off and False Designation of Origin)

       6.      Bacardi’s claims are barred in whole or in part by the doctrine of unclean

hands, including because Bacardi is seeking relief in whole or in part for the purpose of

enabling it to pass off its rum as the genuine HAVANA CLUB rum sold in Cuba and




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elsewhere around the world through the use of the geographically deceptively misleading

name HAVANA CLUB.


                                 SEVENTH DEFENSE
                             (Time Bar in 15 U.S.C. § 1064)

       7.      Bacardi’s claims for cancellation based on alleged improper renewal or

alleged renewal by the wrong party are barred by Section 14 of the Lanham Act

(15 U.S.C. § 1064), because Bacardi failed to seek cancellation within five years of

registration of Cubaexport’s HAVANA CLUB & Design trademark registration, and

those grounds are not among the specifically enumerated grounds for cancellation of a

trademark outside the five-year period.


                                  EIGHTH DEFENSE
                                      (Laches)

       8.      Bacardi’s claims are barred in whole or in part by the doctrine of laches,

including by reason of the long delay of Bacardi and its alleged predecessors in interest in

challenging Cubaexport’s trademark registration between 1976 and 1994. Cubaexport

and others reasonably relied on the absence of a challenge to the trademark registration in

entering into the 1993 assignments and agreements that led to the formation of the HCH

and HCI joint ventures.


                                   NINTH DEFENSE
                                    (Abandonment)

       9.      Bacardi’s claims are barred in whole or in part because JASA abandoned

any rights in or use of the HAVANA CLUB trademark in the United States between 1959




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and 1973, if not earlier, and therefore Bacardi could not acquire any rights to the

HAVANA CLUB trademark in the United States from Jose Arechabala, S.A. or its

alleged former owners.


                                   TENTH DEFENSE
                                      (Priority)

       10.     Cubaexport’s rights with regard to the HAVANA CLUB mark have

priority from 1974, while any rights alleged by Bacardi have priority only from 1995 or

later. Accordingly, Cubaexport’s rights take precedence over any alleged rights of

Bacardi.


                               ELEVENTH DEFENSE
                   (Lack of Standing—No Valid Transfer of Rights)

       11.     Bacardi’s claims are barred in whole or in part because the Arechabala

family members who entered into the purported 1997 assignments referenced in the First

Amended Complaint had no U.S. trademark rights in HAVANA CLUB to assign to JAI,

and therefore JAI acquired no rights that it could assign to Bacardi & Company Ltd.

Therefore, Bacardi acquired no rights that could give it standing.


                                TWELFTH DEFENSE
                       (Lack of Standing—Bacardi U.S.A., Inc.)

       12.     Bacardi U.S.A., Inc. lacks standing to assert some or all of claims alleged

in the First Amended Complaint, including because they assert purported rights of

Bacardi & Company Limited (and not of Bacardi U.S.A., Inc.) as an alleged indirect

transferee of JASA’s rights or as an applicant for a trademark registration.




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                               THIRTEENTH DEFENSE
                        (Section 211—Inapplicability Generally)

       13.     To the extent Bacardi relies on Section 211 of the Omnibus, Consolidated

and Emergency Supplemental Appropriations Act 1999, Pub. L. No. 105-277 (defined

above as “Section 211”), that provision does not apply. Section 211 does not give

Bacardi any rights in the HAVANA CLUB trademark, nor does it take away

Cubaexport’s rights in its existing registration, but at most it limits certain remedies and

future renewals.


                            FOURTEENTH DEFENSE
               (Section 211—Inapplicability Because of OFAC License)

       14.     By its terms, subsection (a)(2) of Section 211 bars recognition of an

“assertion of rights” in certain trademarks under a “registration obtained” under “Section

515.527”. However, the 2006 and 2016 renewals of Cubaexport’s trademark registration

were obtained under the specific license that OFAC granted in 2016 rather than under

Section 515.527. Accordingly, Section 211(a)(2) does not apply to the HAVANA CLUB

trademark registration that Cubaexport owns.


                                        V.
                                REQUEST FOR RELIEF

       Wherefore, Cubaexport respectfully requests that the Court:

       1.      Dismiss plaintiffs’ claims with prejudice and with costs;

       2.      Enjoin each of the plaintiffs, their successors in interest, and anyone acting

in concert with any of them, from using any trademark containing the words “HAVANA




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CLUB” in commerce in the United States and its commonwealths, territories and

possessions, without the express prior written consent of defendant Cubaexport; and

         3.       Grant defendant Cubaexport such other and further relief as may be

appropriate.

         Defendant Cubaexport reserves the right to amend this Counterclaim and Answer

as appropriate.



Dated:            April 19, 2023



                                           Respectfully submitted,


                                           DEBEVOISE & PLIMPTON LLP


                                          By: /s/ David H. Bernstein
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